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     NASER HAJJAJ
 6

 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,             ) Case No.: 1:10-CR-00173-AWI
                                           )
11               Plaintiff,                )
                                           )
12                                         ) STIPULATION AND ORDER TO
           vs.                             ) ADVANCE SENTENCING
13                                         )
                                           )
14                                         )
     NASER HAJJAJ,                         ) Date: November 18, 2013
15                                         ) Time: 10:00 a.m.
                 Defendant.                ) Hon. Anthony W. Ishii
16

17         IT IS HEREBY STIPULATED by and between the parties hereto
18   through their respective counsel that the sentencing hearing
19   in the above captioned matter now set for Monday, November
20   18, 2013, at 10:00 a.m. be advanced to Monday, October 21,
21   2013, at 10:00 a.m. This request is made by both counsel with
22   the   intention     of   conserving      time   and    resources       for   both
23   parties and the court.
24   ///
25   ///
26   ///
27   ///
28   ///
                                           - 1 -
                        Stipulation and Order to Advance Sentencing
                               Case No.: 1:10-CR-00173-AWI
                           Case 1:10-cr-00173-JLT Document 174 Filed 10/16/13 Page 2 of 2


 1   IT IS SO STIPULATED.
 2
     Dated: October 16, 2013                                   /s/ Karen A. Escobar
 3
                                                               Assistant United States
 4
                                                               Attorney

 5
     Dated: October 16, 2013                                   /s/ Anthony P. Capozzi
 6
                                                               ANTHONY P. CAPOZZI
 7
                                                               Attorney for
                                                               NASER HAJJAJ
 8

 9                                                        ORDER
10

11                         IT IS SO ORDERED.        Based upon the stipulation of the
12   parties and good cause appearing therefor, it is hereby
13   ORDERED that the date of the sentencing hearing of the
14   defendant in the above-entitled case be advanced from Monday,
15   November 18, 2013, at 10:00 a.m. to Monday, October 21, 2013,
16   at 10:00 a.m.
17

18

19   IT IS SO ORDERED.

20   Dated: October 16, 2013
                                                        SENIOR DISTRICT JUDGE
21   DEAC_Signature-END:




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                                                           - 2 -
                                        Stipulation and Order to Advance Sentencing
                                               Case No.: 1:10-CR-00173-AWI
